      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 1 of 9




                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
Zahra Shahrashoob,                          §
PLAINTIFF                                   §
                                            §
                                            §
V.                                          §
                                            §
Texas A&M University System, Texas A&M § Civil Action: 4:22-cv-699
at College Station, Chancellor John Sharp,  §
Texas A&M Board of Regents, Katherine       §
Banks-President, Dr.Arul Jayaraman,         §
Dr. N.K. Anand, Damon Slaydon, Jennifer     §
Smith, Dr. Blanca Lupiani, Dr. Micah Green, §
Dr. Victor Ugaz, Dr. Jodie Luthkenhaus,     §
Dr.Anastasia Muliana, Jaime Andres,         §
Gary Blizzard, Kevin McGinnis               §
DEFENDANTS                                  § Jury Trial Requested

         PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

TO THE HONORABLE JUDGE LEE ROSENTHAL:

COMES NOW, Plaintiff Zahra Shahrashoob (herein referred to as “Shahrashoob” or

“Plaintiff”) in the above-styled and numbered cause of action and files Plaintiff’s Response to

Defendant’s Motion to Dismiss to respectfully show this Court the following:

       Plaintiff’s Title VII claims should be maintained as Plaintiff has pleaded the necessary

factual allegations required by law to elicit a remedy. More specifically, Plaintiff has pleaded that

she has suffered adverse employment actions that similarly situated employees differing from

Plaintiff’s gender and/or nationality did not experience.

       With respect to the Title VII claim, Plaintiff concedes that all individual defendants and

the Texas A&M Board of Regents are not employers under Title VII and therefore, are not subject

Plaintiff’s Title VII claim. However, Plaintiff asserts that she is an employee of both the Texas




                                             Page 1 of 9
      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 2 of 9




A&M University System and Texas A&M University at College Station, as Texas A&M

University at College Station is a part of the Texas A&M University System.

       With respect to the 14th amendment/Section 1983 claims, Plaintiff asserts that these claims

should be maintained against all individuals with the exception of John Sharp, Katherine Banks,

and Gary Blizzard. These individuals, in their official and individual capacities, committed acts

that violated established rights with respect to qualified immunity being waived and intentionally

violated Plaintiff’s rights with respect to Plaintiff’s 14th amendment equal protection rights.

       As these claims relate to Texas A&M University at College Station and Texas A&M

University System, both of these entities have consented to suit in federal court by implication.

       With respect to Plaintiff’s retaliation claim, Plaintiff pleads that she made discrimination

complaints. She pleads that after the discrimination complaints, her contract was not renewed and

she was terminated before the renewal period. She pleads that she was denied reasonable

accommodations after making complaints of discrimination. Additionally, she pleads that she did

not receive the raise in compensation she was to receive from an offer she accepted from

Defendants. She did not receive this raise in compensation after she made complaints of

discrimination.

       With respect to Plaintiff’s ADA claims as to all Defendants, Plaintiff has pleaded sufficient

facts to maintain a cause of action under the ADA as to all defendants.

                             A. ARGUMENTS AND AUTHORITY

I.     Plaintiff has pleaded sufficient facts to support a claim for relief, specifically, as it

relates to suffering an adverse employment reaction that similarly situated employees who

are not members of Plaintiff’s protected classes, did not experience.




                                             Page 2 of 9
      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 3 of 9




       While there is a prima facie case that needs to be established in employment

discrimination cases as explained in McDonnell Douglas Corp. v.Green, 411 U.S. 792, 802

(1973), a Plaintiff is not required to make a showing of the prima facie case at the pleading stage.

Raj v.Louisiana State Univ., 714 F.3d 322, 331 (5th Cir. 2013). Instead, only a short and plain

statement of the claim showing that the pleader is entitled to relief need be made. Swierkiewicz v.

Sorema NA, 534 US 506, 512 (2002).

       In this case, Plaintiff has satisfied that requirement. Plaintiff has pleaded adverse

employment actions and she has pleaded other employees who were not Iranian women, were

similarly situated and did not experience these actions, as she was the only one who experienced

them. Not only has she pleaded that she was qualified and that she is a member of a protected

class, but in ¶ 33 of Plaintiff’s First Amended Complaint, she has pleaded that a white male, a

person who is outside of either of Plaintiff’s protected classes, received substantially more

compensation than Plaintiff did. The pleading illustrates that he was similarly qualified and hired

by the same department that hired Plaintiff.

       In ¶’s 34, 37, and 72 of the First Amended Complaint, Plaintiff has pleaded that she was

given more courses to teach, without receiving extra compensation for teaching those extra

courses, as what was given to other similarly situated faculty, outside of Plaintiff’s protected

classes, who taught extra courses.

       In ¶ 38, Plaintiff has pleaded that she was refused start up research funds (a form of

compensation and significant aid in performing sufficient research required to get a promotion or

tenure, these things can be inferred of faculty employment at a research university) whereas, all

other faculty outside of her protected class membership received these start up research funds.




                                               Page 3 of 9
       Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 4 of 9




        While the refusal to obtain a work visa for Plaintiff is explained in multiple paragraphs of

the First Amended Complaint, ¶’s 41 and 42 show that Plaintiff has pleaded that although work

visas were obtained/given by Defendants to all Non US Faculty, these efforts and benefits were

not given to Plaintiff. Without a work visa, a non US citizen’s ability to maintain employment is

significantly impaired.

II.     Texas A&M University and the Texas A&M University System have consented to

being sued in federal court and as a result, are not protected by sovereign immunity.

        While without expressed intent on the part of Congress or a waiver of immunity by the

state, states are immune from being sued in federal court, as explained by the 11th Amendment.

However, a state can waive immunity through implication, overwhelming implication. Murray v.

Wilson Distilling Co., 213 US 151, 171 (1909).

        In this case, the state Defendants have waived their immunity and have consented to

being sued in Federal Court by their overwhelming receipt of federal funds, in part, to promote

diversity and inclusion at Texas A&M University by retaining a diverse faculty. Not only are the

state defendants receiving hundreds of millions of dollars in federal funding, as pleaded in the

First Amended Complaint, but much of this funding is to achieve ethnic, gender, and other forms

of diversity, of its faculty. ¶ 24, First Amended Complaint. Much of the money they receive is in

the area of the objective they have been thwarting. By receiving so much money, in part, in the

area of retaining diverse faculty, Defendants have consented to federal court jurisdiction for the

purposes of this suit. As a result, Section 1981 and the 14th amendment claims should be

maintained against these entities.

III.    Plaintiff has pleaded sufficiently, the requirements to maintain a retaliation claim

against Defendants.



                                             Page 4 of 9
      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 5 of 9




       Defendants fallaciously make references to ¶’s 49 and 57 of Plaintiff’s First Amended

Complaint, as if those paragraphs exclusively articulate a retaliation claim relative to the rest of

the Complaint. While these paragraphs address retaliation, they do not do it exclusively of any

other paragraphs. ¶ 52 alleges that Plaintiff did not receive a raise as part of an offer she accepted

from Defendants after Plaintiff made multiple complaints of discrimination. ¶’s 52 and 53, allege

that Plaintiff was denied reasonable accommodations after Plaintiff made multiple complaints of

discrimination. Plaintiff made complaints of discrimination throughout the duration of these

discrimination complaint references in the First Amended Complaint.

IV.    Defendants can be held liable for Plaintiff’s ADA claims.

       42 U.S. Code § 12202 expresses the congressional intent necessary to set aside sovereign

immunity for states that are in violation of this chapter. Arguments made by Defendants

asserting that Congress did not have the authority to set aside immunity in this case, do not

specifically address the ADA.

V.     Plaintiff’s Title VI claim against Defendants should be maintained, as Plaintiff has

pleaded sufficient facts to show intentional discrimination on the basis of nationality.

       Plaintiff has pleaded sufficient facts to illustrate intentional discrimination on the basis of

nationality towards Plaintiff. Defendants did not avail Plaintiff the benefit or aid of obtaining a

work visa as what is done with every other non US faculty member in her department, as pleaded

in Plaintiff’s First Amended Complaint. Plaintiff makes reference to the refusal of Defendants to

obtain a work visa for Plaintiff numerous times. Plaintiff discusses the work visa issue

perpetually with Defendants. From these discussions, including Plaintiff’s request for a work

visa to facilitate her returning home to Iran to see her dying parents, Defendants were well aware

of her nationality and still refused to confer those benefits of the work visa obtainment procedure



                                              Page 5 of 9
      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 6 of 9




to Plaintiff. Due to the numerous times Plaintiff requested assistance from Defendants to acquire

a work visa, and due to the numerous refusals Defendants exercised relating to obtaining a work

visa for Plaintiff, one can reasonably infer these refusals were intentional and conformed to the

behavior that Title VI prohibits, given that Defendants diligently obtained work visas for all

other foreign born faculty.

VI.     Plaintiff’s 14th amendment equal protection claims against the named individuals in

their individual and official capacities should be maintained.

        Defendants erroneously argue that any rational basis behind employment decisions

should be excused under equal protection law. However, the cases they cite Integrity Collision

Center v. Fulshear, 837 F.3d 581 (5th Cir. 2016) and Engquist v. Oregon Dep't of Agr., 553 U.S.

591, 605 (2008), are distinguishable from the equal protection issues in this case. Those cases

relate to the “class of one” equal protection theory. Those cases did not involve members of

protected classes. Rational basis review has no relevance to equal protection issues involving

protected classes, as is noted in those cases.

        A plaintiff must show, in order to waive qualified immunity for individuals who act on

behalf of a state, (1) the official violated a constitutional right; and (2) the constitutional right

was “clearly established” at the time of the defendant’s alleged misconduct. Reed v.Taylor, 923

F.3d 411, 414 (5th Cir. 2019). To state a claim of discrimination under the Equal Protection

Clause and § 1983, a plaintiff must plausibly allege two things. First, he must allege that he was

treated differently than persons similarly situated to him; second, he must allege that such

treatment stemmed from discriminatory intent. Anokwuru v. City of Houston, 990 F.3d 956, 965

(5th Cir. 2021).




                                                 Page 6 of 9
      Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 7 of 9




       Dr. Arul Jayaraman is not protected by qualified immunity in this case. He violated

Plaintiff’s rights by denying her equal protection rights when he did not attempt to obtain a work

visa for Plaintiff as he had done for other similarly situated employees who were not Iranian

women in that department. As alleged in the First Amended Complaint, he continued to extend

promises to perform the work needed to obtain a work visa for Plaintiff, but never did. Due to the

volume of requests made by Plaintiff, Jayaraman’s conduct could be described as intentional.

However, Jayaraman helped to obtain work visas for other non US faculty, who were not Iranian

women in the same department as Plaintiff. Jayaraman saddled Plaintiff with more work

obligations by giving her more classes to teach but never increased her salary. Yet, he increased

the pay of other faculty who he had given more classes to teach. These faculty members who had

their pay increased for teaching more classes were not Iranian women. Jayaraman never gave

Plaintiff any startup funds for her research. Yet he had given other faculty startup funds who

were not members of the same protected classes of which Plaintiff was a member. In ¶ 40,

Jayaraman hints at his intentional conduct by expressing that Plaintiff “is not a priority” and that

is one of the reasons why no effort was being made on her behalf as was made on the behalf of

other similarly situated faculty who were not Iranian women. Given that the only distinguishing

factor between the other faculty and Plaintiff was that the other faculty were not Iranian women,

perhaps that is why Jayaraman felt that Plaintiff was not a priority.

       Blanca Lupiani is not protected by qualified immunity because she violated Plaintiff

rights by frustrating and denying Plaintiff’s requests for reasonable accommodations as pleaded

in Plaintiff’s First Amended Complaint.

       Given the totality of the occurrences that transpired throughout Plaintiff’s employment

with Defendants, all named individuals mentioned in the Facts of the First Amended Complaint



                                             Page 7 of 9
       Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 8 of 9




violated Plaintiff’s 14th amendment equal protection rights, waiving their qualified immunity in

the process.

VII.    Plaintiff concedes that Katherine Banks, John Sharp, Gary Blizzard, and the Texas

A&M Board of Regents should be dismissed from this action.

        Plaintiff concedes that the above named Defendants should be dismissed.

                                            B. Prayer

        For these reasons, Plaintiff requests that this court deny Defendants Motion to Dismiss

except in the areas where Plaintiff expressly concedes to Defendants’ argument.



                                             Respectfully submitted,


                                             The Bozeman Law Firm


                                             /s/ Marc Anson Bozeman
                                             Attorney-In-Charge
                                             Texas State Bar No. 24057044
                                             Federal Bar No. 1533462
                                             5499 Braesvalley Dr., No. 462
                                             Houston, Texas 77096
                                             Telephone: (832) 741-7950
                                             mb@bozemanlitigation.com

                                             ATTORNEY FOR PLAINTIFF




                                            Page 8 of 9
     Case 4:22-cv-00699 Document 16 Filed on 08/15/22 in TXSD Page 9 of 9




                              CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing instrument was sent to counsel named
below by way of the CM/ECF electronic filing system on the 15th day of August, 2022,
addressed as follows:


               Via CM/ECF Federal Court Filing System


               YVONNE D. BENNETT
               Office of the Attorney General
               P.O. Box 12548
               Austin, Texas 78711-2548
               Yvonne.Bennett@oag.texas.gov



                                                            /s/ Marc Anson Bozeman
                                                            Marc Anson Bozeman




                                            Page 9 of 9
